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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
“IN ADMIRALTY”

CASE NO: 21-cv-60334

E.C, RUFF MARINE, INC,
a Florida Profit Corporation,

Plaintiff,
vs

M/V “BELLA GIORNATA,” 89’ Lazzara,
motor vessel, her boats, engines,

tackle, equipment, apparel, furnishings,
freights, appurtenances, and all fixtures and
other necessaries there unto appertaining and
belonging to the vessel, in rem.

Defendant.
/

AFFIDAVIT OF PROPOSED SUBSTITUTE CUSTODIAN, APEX MARINE, LLC
STATE OF FLORIDA
COUNTY OF — Winm, Bod

I, Ismael Perera, as authorized agent of APEX MARINE, LLC, being duly sworn, deposes and
says:

1, Affiant is the authorized agent for APEX MARINE, LLC.

2. Affiant is familiar with Defendant Vessel, M/Y “BELLA GIORNATA, ”’ at least to the
extent of her size, type, construction material and apparent condition, and believes that he has adequate
facilities and supervision for, and to safely keep said vessel in place of the U.S. Marshal during the
pendency of the suit herein, and until further order of this Court.

3s Furthermore, Affiant states that he will perform the following services for said vessel

during her custodianship: insure, provide dockage, adequate and necessary security, towage/shifting,

and pumping when necessary.
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4, Affiant estimates the approximate value of the vessel to be $1,250,000 Dollars.

5. That the charge for dockage will be the sum of $4.25 per foot, per day, including tax,
plus electric.

6. The Substitute Custodian charges $500 as a mobilization fee which covers the
preliminary planning, staging and coordination of the arrest. The mobilization fee is earned upon
execution by the Substitute Custodian of its Affidavit and the Consent and Indemnification Agreement.
Additional fees will be required to hire a crew to transport Defendant Vessel. There will also be a
charge of $300 per month or any portion thereof to act as Substitute Custodian.

7. Affiant has adequate facilities and supervision for the proper safekeeping of Defendant
Vessel, and possesses insurance and assets adequate to respond in the event of damage or injury to
Defendant Vessel, M/V “BELLA GIORNATA,” during said custody or for damage sustained by third
parties due to the negligence of said custodian.

8. Affiant will accept, in accordance with the terms of this Honorable Court’s Order,
possession for Defendant Vessel, M/V “BELLA GIORNATA, ” her boats, engines, tackle, equipment,
apparel, furnishings, freights, appurtenances, and all fixtures and other necessaries there unto

appertaining and belonging to the vessel, which is the subject of this action.

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Ismael Perera
Authorized Agent
of APEX MARINE, LLC

FURTHER AFFIANT SAYETH NAUGHT.

SWORN TO and subscribed before me, the undersigned authority, this _// day of June, by

Ismael Perera as authorized agent of APEX MARINE, LLC, [<] who is personally known to me or [

] who has produced identification. CL

SEAL Notary Public, State of Florida

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My Commission Expires , /<¢ene /S , co Zy

  

wi,  ROXANASOFIAPLASENCIA
ALS MY COMMISSION # GG 959521
Ji is? EXPIRES: June 15, 2024
Src Bonded Thnu Notary Publle Underwriters

     
   

  
